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UN|TED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
MEMPHIS D|VlSlON

UN|TED STATES OF AMER|CA

-v- 2:04CR20311-01-B
2:OSCR20164-01-B \/

TERESA FLEMING

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0541){;»9 m 5.-58

 

Lar[y Fitzgerald, Retained

Defense Attorney

22 N. Second Suite 410

Memphis, TN 38103

 

JUDGMENT lN A CRlNllNAL CASE
(For Offenses Committed On or After November 1 , 1987)

The defendant pleaded guilty to Counts 1, 4, 6, 7, 9, 12, 13, 15, 16, 17, 28, 32, 35, 36, 37,
38, 39, 41, 44, 48 of the indictment in 04-20311 on February 28, 2005, and to Counts 1, 2,
3, 4, 5, 6, 7, 8, 9 of the information in 05-20164 on Apri| 27, 2005. Accordingly, the Court

has adjudicated that the defendant is guilty of the following offenses:

Date
Title & section MM Offense
Concluded
18 U.S.C. § 371 Conspiracy 05/30/2002
18 U.S.C. § 1343 Wire Fraud 05/17/2002
18 U.S.C. § 641 Embezziement 05/17/2002
18 U.S.C. § 1957 Engaging in Nlonetary 04/29/2002
Transactions Derived from
Specified Unlawful Activity
18 U.S.C. § |Vloney Laundering 04/25/2002
1956(3)(1)(8)(i)
42 U.S.C. § 408(a)(7)(B) Social Security Fraud 04/10/2002
18 U.S.C. § § 287 and 2 False Claims 01/20/2005

Count
Numbers

1
(04-2031 1)

4, 6, 7, 9, 12,
13,15, 16, 17
(04-20311)

23, 32
(04-20311)

35, 36, 37, 33,
39
(04-20311)

41, 44
(04-20311)

43
(04~20311)

1, 2, 3, 4, 5, 6,
7, 3, 9
(05-20164)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory

Victims Restitution Act of 1996

Thls document entered on the docket sheet in compliance

With Ru|e 55 and/or 32(b) FHCrP on 9 “ q/ O

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Counts 2, 3, 5, 8, 10, 11, 14, 20, 21, 22, 23, 24, 25, 26, 27, 29, 30, 31, 33, 40, 42, 46, 47 are
dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth.' 08/14/1970 August 03, 2005
Deft’s U.S. |Vlarsha| No.: 19805-076

Defendant’s l\/laiiing Address:
4672 Linda Wood Lane
Nlemphis, TN 38128

 

// M
J. DANIEL BREEN
UN TED STATES D|STR|CT JUDGE

August g , 2005

 

 

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Case No.' 2:04CR20311-01-B & 2:050R20164-01-B Defendant Name.' Teresa FLEMING Page 3 of 7
|MPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 70 Months.

As to 04-20311, defendant is sentenced to 60 months as to each count 1, 4, 6, 7, 9, 12,
13, 15, 16, 17 and 48; and 63 months as to each count 28, 32, 35, 36, 37, 38, 39, 41 and
44, to be served concurrently

As to 05-20164, defendant is sentenced to 60 months as to each count 1, 2, 3, 4, 5, 6, 7,
8 and 9, to be served concurrently

Pursuant to §2J1.7, defendant is sentenced to an additional term of 7 months to be served
consecutively

The Court recommends to the Bureau of Prisons:

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons as notified by the United States l\/larshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

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SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 Years.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission ofthe court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officerl the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1) Do not incur additional lines of credit without the permission of the Probation Officer.
2) Provide the Probation Officer access to any financial information.

3) Submit to mental health treatment as directed by the Probation Officer.

4) Cooperate with the Probation Officer in the collection of DNA.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$2,900.00 $423,309.13

The Special Assessment shall be due immediately
F|NE

No fine imposed

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REST|TUT|ON

Restitution in the amount of $423,309.13 is hereby ordered The defendant shall
make restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of payee Amount Restitution Ordered or
of Loss Percentage
of Payment
|NTERNAL REVENUE $362,400.13 $362,400.13
SERV|CE,

Attn: RE: TERESA FLE|V|lNG

lNTERNAL REVENUE $60,909.00 $60,909.
SERVICE,
Attn: RE: TERESA FLEMING

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othen/vise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

To be paid in regular monthly installments of not less than 10% of gross monthly
income.

Un|ess the court has expressly ordered othenNise in the special instructions abovel if thisjudgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financiai Responsibi|ity Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer. or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

Joint and Several
Defendant Name, Case Number, and Joint and Several Amount:

Lorray Broden, isiah Han Conway, Benita Rogers, Vencel l\/lartin, Deandrea Robinson.

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 10 in
case 2:05-CR-20164 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listedl

 

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
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Ste. 800

1\/1emphis7 TN 38103

Larry E. Fitzgerald
FITZGERALD & HARRIS
100 N. Main St.

Ste. 901

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Honorable .1. Breen
US DISTRICT COURT

